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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Amerifactors Financial Group, LLC
                                           Plaintiff,
v.                                                         Case No.: 1:21−cv−06803
                                                           Honorable Joan H. Lefkow
University of Chicago, et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 26, 2022:


        MINUTE entry before the Honorable Joan H. Lefkow:The motion by Amerifactors
for leave to file a fourth amended complaint [44] is granted insofar as it pleads promissory
estoppel in the alternative to a breach of contract claim. The motion for leave to file
account stated claim is denied. Mailed notice (ags)




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